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                                IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MINNESOTA

                             INITIAL APPEARANCE - REMOVAL
                                                   )         COURT MINUTES - CRIMINAL
United States of America,                          )         BEFORE: KATHERINE M. MENENDEZ
                                                   )             U.S. MAGISTRATE JUDGE
                          Plaintiff,               )
v.                                                 )   Case No:             21-mj-103 KMM
                                                   )   Date:                February 1, 2021
Sarah Ann Carlson,                                 )   Video Conference
                                                   )   Time Commenced:      2:16 p.m.
                          Defendant.               )   Time Concluded:      2:22 p.m.
                                                   )   Time in Court:       6 minutes
                                                   )
                                                   )
                                                   )
APPEARANCES:

       Plaintiff: Evan Gilead, Assistant U.S. Attorney
       Defendant: Keala Ede, Assistant Federal Public Defender
                       X FPD          X To be appointed

       X Advised of Rights

on Violation of X Pretrial Release

X Date charges or violation filed: 11/24/2020
X Current Offense: absconded from the halfway house
X Charges from other District: District of North Dakota
X Title and Code of underlying offense from other District: 18:371 & 1951(a)- Hobbs Act Robbery
X Case no: 3:20-cr-123 (3) PDW

X Government moves for detention.
Motion is X granted, temporary detention ordered


Next appearance date is February 4, 2021 at 10:00 a.m. via video conference before U.S. Magistrate Judge
Katherine M. Menendez for:
X Detention hrg     X Removal hrg


Additional Information:
X Oral Rule5(f) Brady notice read on the record
X Defendant consents to this hearing via video conference.
                                                                                                  s/SAE
                                                                          Signature of Courtroom Deputy
